8:08-cr-00210-LSC-TDT        Doc # 128      Filed: 09/17/09    Page 1 of 1 - Page ID # 849




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                  8:08CR210
       vs.                                    )
                                              )                    ORDER
MARTY HIRAM ELLIS,                            )
                                              )
                     Defendant.               )


       This matter is before the court on the government's motion to continue trial (Doc.
125) because defendant Ellis is currently in custody in the District of Arizona awaiting trial
in that district. A continuance is requested to allow the U.S. Marshals Service time to
transport Mr. Ellis from Arizona to Nebraska. The court is advised that Mr. Ellis will not
agree to a continuance of his Nebraska trial, which is now set for September 29, 2009.

      IT IS ORDERED that Marty Hiram Ellis shall file a written response to the
government's Motion to Continue Trial no later than 12:00 noon on Monday, September
21, 2009.

       DATED September 17, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
